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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                   Case No.: 9:16-cv-81798-DMM

  TTT Foods Holding Company LLC,
  a Florida limited liability company,

                 Plaintiff,
  v.

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
              Defendants.
  _________________________________/

                              DEFENDANTS’ INITIAL DISCLOSURES

         COME NOW the Defendants, BEATRICE NAMM, an individual, JONATHAN NAMM,

  an individual, and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability

  company, by and through the undersigned attorneys, and file this their initial disclosure pursuant

  to Federal Rule of Civil Procedure Rule 26(a)(1), and state in support thereof as follows:

  I.     WITNESSES:

         A.      The name and, if known, the address and telephone number of each individual

  likely to have discoverable information that the disclosing party may use to support its claims or

  defenses, unless solely for impeachment, identifying the subject of the information:

                 1.      Beatrice Namm, individually and in her corporate capacity, if any, c/o

  Agustin R. Benitez, Benitez Law Group, P.L., 1223 East Concord Street, Orlando, Florida

  32803. The witness is a defendant in the above-captioned case and has knowledge of facts



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  concerning the various transfers at issue, facts surrounding the transfers, Deluxe Gourmet

  Specialties LLC and Bea’s Brooklyn’s Best LLC’s operations and finances, and the allegations

  underlying the claims and defenses in this case.

                 2.     Jonathan Namm, c/o Agustin R. Benitez, Benitez Law Group, P.L., 1223

  East Concord Street, Orlando, Florida 32803. The witness is a defendant in the above-captioned

  case and has some knowledge of facts concerning the some transfers at issue, facts surrounding

  those particular transfers, and some of the allegations underlying the claims and defenses in this

  case.

                 3.     Eric Scholer, c/o John E. Page, 2385 NW Executive Center Drive, Suite

  300, Boca Raton, Florida 33431. The witness is known to and available to the Plaintiff, and may

  be an employee, member, agent and/or manager of Plaintiff. Plaintiff and its counsel are aware

  of the information said witness possesses related to the issues raised by the pleadings. The

  witness has knowledge of facts concerning the organization and operation of Bea’s Brooklyn’s

  Best LLC, the relationship and/or use of Deluxe Gourmet Specialties LLC by Bea’s Brooklyn’s

  Best LLC, the knowledge that Plaintiff had as to the operation of Deluxe Gourmet Specialties

  LLC and Bea’s Brooklyn’s Best LLC, the business books and records and/or accounting of Bea’s

  Brooklyn’s Best LLC, and/or some of the allegations underlying the claims and/or defenses in

  this case. The witness was a manager of Bea’s Brooklyn’s Best LLC.

                 4.     Donald K. Porges, c/o John E. Page, 2385 NW Executive Center Drive,

  Suite 300, Boca Raton, Florida 33431. The witness is known to and available to the Plaintiff,

  and may be an employee, member, agent and/or manager of Plaintiff. Plaintiff and its counsel


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  are aware of the information said witness possesses related to the issues raised by the pleadings.

  The witness has knowledge of facts concerning the organization and operation of Bea’s

  Brooklyn’s Best LLC, the relationship and/or use of Deluxe Gourmet Specialties LLC by Bea’s

  Brooklyn’s Best LLC, the knowledge that Plaintiff had as to the operation of Deluxe Gourmet

  Specialties LLC and Bea’s Brooklyn’s Best LLC, the business books and records and/or

  accounting of Bea’s Brooklyn’s Best LLC, and/or some of the allegations underlying the claims

  and/or defenses in this case. The witness was a manager of Bea’s Brooklyn’s Best LLC and its

  accountant.

                 5.      Jesse Deforrest, c/o John E. Page, 2385 NW Executive Center Drive, Suite

  300, Boca Raton, Florida 33431. The witness is known to and available to the Plaintiff, and may

  be an employee, member, agent and/or manager of Plaintiff. Plaintiff and its counsel are aware

  of the information said witness possesses related to the issues raised by the pleadings. The

  witness has knowledge of facts concerning the organization and operation of Bea’s Brooklyn’s

  Best LLC, the relationship and/or use of Deluxe Gourmet Specialties LLC by Bea’s Brooklyn’s

  Best LLC, the knowledge that Plaintiff had as to the operation of Deluxe Gourmet Specialties

  LLC and Bea’s Brooklyn’s Best LLC, the business books and records and/or accounting of Bea’s

  Brooklyn’s Best LLC, and/or some of the allegations underlying the claims and/or defenses in

  this case.

                 6.      Jeff Brandon, c/o John E. Page, 2385 NW Executive Center Drive, Suite

  300, Boca Raton, Florida 33431. The witness is known to and available to the Plaintiff, and may

  be an employee, member, agent and/or manager of Plaintiff. Plaintiff and its counsel are aware


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  of the information said witness possesses related to the issues raised by the pleadings. The

  witness has knowledge of facts concerning the organization and operation of Bea’s Brooklyn’s

  Best LLC, the relationship and/or use of Deluxe Gourmet Specialties LLC by Bea’s Brooklyn’s

  Best LLC, the knowledge that Plaintiff had as to the operation of Deluxe Gourmet Specialties

  LLC and Bea’s Brooklyn’s Best LLC, the business books and records and/or accounting of Bea’s

  Brooklyn’s Best LLC, and/or some of the allegations underlying the claims and/or defenses in

  this case. The witness was a manager of Bea’s Brooklyn’s Best LLC.

                 7.      Other witnesses to be learned through discovery.

                 8.      Any witness necessary to lay a foundation, authenticate or identify for the

  admission of documents, demonstrative exhibits, or other evidence, including records custodians

  for bank records.

                 9.      Any witness disclosed by any other party.

                 10.     Any witness necessary to rebut or impeach any witness disclosed by any

  other party.

                 11.     Defendants state that discovery is ongoing and incomplete and reserves the

  right to amend this list at any time upon discovery of additional witnesses or a determination that

  such above listed witnesses are not necessary.

  II.    DOCUMENTS

         A.      A copy of, or a description by category and location of, all documents, data

  compilations, and tangible things that are in the possession, custody, or control of the party and

  that the disclosing party may use to support it, claims or defenses, unless solely for impeachment:


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                  1.     All documents referenced in the Amended Complaint.

                  2.     All documents evidencing ownership and/or control of Bea’s Brooklyn’s

  Best LLC, since its inception.

                  3.     All documents evidencing the operation of Bea’s Brooklyn’s Best LLC,

  since its inception.

                  4.     All documents relating to Bea’s Brooklyn’s Best LLC’s members, officers

  and directors, since its inception.

                  5.     All documents and correspondence relating to the checks or transfers

  referenced in the Amended Complaint.

                  6.     All documents and correspondence relating to any goods or value

  exchanged in relation to the transfers referenced in the Amended Complaint.

                  7.     All documents relating to business conducted and payments between

  Deluxe Gourmet Specialties LLC and its customers and suppliers, and Bea’s Brooklyn’s Best

  LLC and its customers and suppliers.

                  8.     All filings, including, but not limited to, all motions, affidavits, objections,

  stipulations and orders relating to litigation between Bea’s Brooklyn’s Best LLC and the

  Plaintiff.

                  9.     Correspondence between Deluxe Gourmet Specialties LLC and its

  customers and suppliers, and Bea’s Brooklyn’s Best LLC and its customers and suppliers.

                  10.    Correspondence between Plaintiff or its attorney and Deluxe Gourmet

  Specialties LLC and its customers and suppliers.


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                 11.      Correspondence between Plaintiff or its attorney and Bea’s Brooklyn’s

  Best LLC and its customers and suppliers.

                 12.      All documents produced by Hughes-Plumer & Associates.

                 13.      All documents produced by Ward Transport & Logistics Corp.

                 14.      All documents produced by YRC Worldwide, Inc.

                 15.      All documents produced by Berner Food & Beverage, Inc.

                 16.      All documents produced by Kaltec Food Packaging, Inc.

                 17.      All documents produced by ActionPak, Inc.

                 18.      All documents produced by Bank of America.

                 19.      All documents produced by WalMart Stores, Inc.

                 20.      All documents produced by Costco Wholesale Corporation.

                 21.      All documents produced by ShopRite/Wakefern Food.

                 22.      All documents produced by Sam’s Club.

                 23.      All documents filed, furnished, created or obtained by the Defendants in the

  above-captioned case, and all related proceedings in any jurisdiction in or outside the United

  States.

                 24.      All witness statements and/or sworn statements by any party or non-party

  which pertains to the claims and defenses asserted in this case.

                 25.      All documents filed in this case.

                 26.      All deposition transcripts and exhibits to depositions in the

  above-captioned case.


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                  27.     All documents produced by Plaintiff to the extent not objected to by

  Defendants.

                  28.     All documents utilized by any Plaintiff in the trial of the above-referenced

  case.

                  29.     All documents to be used for rebuttal and impeachment purposes.

                  30.     Defendants state that discovery is ongoing and incomplete, and reserves

  the right to amend or supplement this list of documents at any time prior to trial upon the

  discovery of additional relevant documents. Furthermore, Defendants are not waiving any

  objection to any particular document or evidence listed above by listing it herein, and Defendants

  reserve all objections to the admissibility at trial of the items referred to herein.

  III.    COMPUTATION OF DAMAGES: A computation of any category of damages

  claimed by the disclosing party, making available for inspection and copying as under Rule 34

  the documents or other evidentiary material, not privileged or protected from disclosure, on

  which such computation is based, including materials bearing on the nature and extent of injuries

  suffered: Defendants do not seek damages, only attorney fees and/or costs.

  IV.     INSURANCE AGREEMENTS: For inspection and copying as under Rule 34 any

  insurance agreements under which any person carrying on an insurance business may be liable to

  satisfy part or all of a judgment which may be entered in the action or to indemnify or reimburse

  for payments made to satisfy the judgment: Defendants are unaware of any insurance agreement

  under which any person carrying on an insurance business may be liable to satisfy part or all of a

  judgment which may be entered in this adversary proceeding or to indemnify or reimburse for


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  payments made to satisfy the judgment. Discovery, however, is ongoing, and in the event

  Defendants become aware of any such insurance agreement after discovery, it will supplement

  this initial disclosure.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 30, 2016, I sent a true and correct copy of the
  foregoing by E-mail delivery John E. Page, counsel for Plaintiff (jpage@sflp.law) and Bernice C.
  Lee, counsel for Plaintiff (blee@sflp.law).

                                                     /s/ Agustin R. Benitez
                                                     AGUSTIN R. BENITEZ, ESQUIRE
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